Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 1 of 58




                   EXHIBIT T
      Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 2 of 58


                            UNITED STATES DISTRICT COURT

             NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION



APPLE INC., a California corporation,        CASE NO. 12-cv-00630-LHK

              Plaintiff,

       vs.                                   HIGHLY CONFIDENTIAL – OUTSIDE
                                             ATTORNEYS’ EYES ONLY – SOURCE
SAMSUNG ELECTRONICS CO., LTD., a             CODE
Korean business entity; SAMSUNG
ELECTRONICS AMERICA, INC., a New
York corporation; SAMSUNG
TELECOMMUNICATIONS AMERICA,
LLC, a Delaware limited liability company,

              Defendants.



             REBUTTAL EXPERT REPORT OF MARTIN RINARD, PH.D.
                    REGARDING NONINFRINGEMENT OF
                CLAIMS 24 AND 25 OF U.S. PATENT NO. 6,847,959
            Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 3 of 58
      HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE

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      XI.    COMMENTS ON THE HAUSER REPORT’S AND VELLTURO REPORTS’
             DESCRIPTIONS OF THE ASSERTED PATENTS AND ACCUSED
             TECHNOLOGY

             524.   I have reviewed the August 11, 2013 Expert Report of John R. Hauser (the

      “Hauser Report”) as well as its exhibits. I have also reviewed the survey referenced in the

      Hauser Report and reviewed the video relating to the ‘959 patent in that survey. For the reasons




                                                    204
        Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 4 of 58
HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE


identified below, I believe that the survey inaccurately and misleadingly described both the scope

of the asserted claims of the ‘959 patent and the functionality of the Accused Products.

        525.    The Hauser Report names the ‘959 patent “patent-related feature” “Universal

Search.” (Hauser Report, ¶ 74.) The Hauser Report, as well as the associated survey, describes

Universal Search as follows:

                “Universal Search. Universal Search lets you use a single search
                to find information from different sources of information, for
                example data stored on your smartphone [tablet] as well as
                information found on the Internet. Universal Search uses different
                rules of thumb for searching the different sources in order to find
                good results tailored to each source. For example, when you type
                “George” in a single search box, the feature searches the Internet
                for “George,” which might yield web pages about George
                Washington, and at the same time searches for “George” stored on
                your smartphone [tablet], which might retrieve “George Adams”
                from your contacts or songs by “George Michael” from your music
                files. Without Universal Search, you would have to separately
                search each information source, for example searching the Internet
                in a browser or for your contacts within your contacts application.”

(Id.)

        526.    Initially, this description is ambiguous and confusing as to the meaning of the

word “source[s].” “Sources” is not a term used in the ‘959 patent. Claim 24 of the ‘959 speaks

both of a “plurality of heuristics” and of locating information on both the Internet and on local

storage media, but neither the patent specification nor the claims references any “source” or

“sources.” To the extent that this description is intending to capture concepts in the ‘959 patent,

it is not clear why terms that appear in the patent would not more accurately describe the alleged

invention.

        527.    The term “source” is also ambigious in this description. The first sentence

identifies “data stored on your smartphone [tablet]” and “information found on the Internet” as

sources.     (Hauser Report, ¶ 74: “sources of information, for example data stored on your



                                                205
       Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 5 of 58
HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE


smartphone [tablet] as well as information found on the Internet.”) But the last sentence appears

to imply that each application is a source. (Hauser Report, ¶ 74: “you would have to separately

search each information source, for example searching the Internet in a browser or for your

contacts within your contacts application.”) This ambiguity could lead a reader or listener to

misinterpret the scope of the asserted claims in this case. For example, if a reader or listener

understands “source” to describe individual applications, the reader or listener might believe that

“Universal Search” would include a search technique that searches multiple applications, even if

the applications were all local to the device, which is clearly outside the scope of the asserted

claims. I note that the Opening Snoeren Report seems to equate “sources” with the claimed

“locations.” (Opening Snoeren Report, ¶ 89: “it enhances the ease of use by allowing the user to

input a single query and have that query searched across multiple data sources, including both

the local device and the Internet”; Opening Snoeren Report, ¶ 6: “The ’959 Patent is directed to

the general problem of efficiently locating information across varying information sources, e.g.,

information stored locally on a device as well as information remotely available on the

Internet.”)

       528.    The final sentence of this description of Universal Search reads “[w]ithout

Universal Search, you would have to separately search each information source, for example

searching the Internet in a browser or for your contacts within your contacts application.”

(Hauser Report, ¶ 74.) This sentence is false both when compared to the description’s scope of

Universal Search and as a description of the scope of claim 24 of the ‘959 patent. First, without

Universal Search as defined in the Hauser Report, there are other methods to search multiple

information sources with a single search. For instance, the Hauser Report’s description of

Universal Search states that “Universal Search used different rules of thumb for searching the




                                               206
      Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 6 of 58
HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE


different sources.” (Id.) Accordingly, one method to perform a multi-source search without the

Hauser Report’s Universal Search is to use no rules of thumb, or only a single rule of thumb.

Another method to perform a multi-source search without infringing claim 24 of the ‘959 patent

is to employ rules of thumb that consist solely of constraint satisfaction parameters. (Opening

Snoeren Report, ¶ 98.) If “sources” refers to the Opening Snoeren Report’s accused heuristics,

another way to search multiple sources without infringing the asserted claims of the ‘959 patent

would be to use multiple heuristics to search multiple sources, but, for any given search, only

search local storage media or the Internet, but not both in the same search. I understand that

Apple has conceded that searching only local storage media, or only the Internet, does not

infringe any of the asserted claims. (See Opening Snoeren Report, ¶ 350: “While [an Internet-

only Google Search Application] design may avoid literal infringement of claim 24 of the ‘959

Patent”; Apple’s July 15, 2013 Interrogatory Responses at 150: arguing Sherlock does not

anticipate claim 24 because “the references cited by Samsung describe Sherlock as providing one

window for searching the internet and another window for find file, where there is never a single

input provided to both.”)

       529.    As noted above, the final sentence of this description of Universal Search reads

“[w]ithout Universal Search, you would have to separately search each information source, for

example searching the Internet in a browser or for your contacts within your contacts

application.” (Hauser Report, ¶ 74.) This statement gives the false impression that the only

possible alternative design to the alleged invention described in the claims is what the Opening

Snoeren Report described as the “Eighth Alleged Alternative,” that is, “remove the Quick Search

Box and replace it with each application having its own search user interface.” (Opening

Snoeren Report, ¶ 332.) But the Opening Snoeren Report acknowledges that there are ten other




                                              207
       Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 7 of 58
HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE


alternatives.   (See Opening Snoeren Report, ¶¶ 322-35.) In particular, as described above,

searching all of the information stored on the device with a single search would not infringe the

asserted claims of the ‘959 patent.

        530.    The Hauser Report’s description of Universal Search says that the feature

“searches the Internet for ‘George,’ which might yield web pages about George Washington.”

(Hauser Report, ¶ 74.) This does not accurately describe either the video displayed in connection

with the survey or the accused functionality identified in the Opening Snoeren Report. The

video shows, not “web pages about George Washington,” but rather a suggestion that the user

perform a Google search for George Washington. (See Opening Snoeren Report, ¶ 150: “The

Google Suggestion provider is used to query Google’s servers for search suggestions based on

content from Google’s search engine on the Internet. . . When a user selects a search suggestion

a web search for that suggestion is triggered.”) I note that, in some cases, the device may display

a so-called “navsuggest,” which is a link to a web site, but is not itself a web site or web page.

(June 28, 2013 Bringert Deposition at 179:11-19.) The Opening Snoeren Report mentions

navsuggests only in tangential footnotes, and is not asserting that navsuggests are part of the

infringing functionality. (Opening Snoeren Report at p. 47, fn. 25; p. 48, fn. 27; p. 61, fn. 66.)

        531.    This description of Universal Search mentions “rules of thumb,” invoking a part

of the Court’s construction of “heuristic algorithm,” but it omits the second part of that

construction, “does not consist solely of constraint satisfaction parameters.” (Opening Snoeren

Report, ¶ 98.) Because of this, this description is therefore broader in scope than the claims of

the ‘959 patent. Further, it is not apparent from the video whether any rule of thumb is being

employed whatsoever. The video displays only a single contact (“George Adams”) and a single

musical artist (“George Michael”) in response to the “Ge” query:




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      Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 8 of 58
HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE




If there were only a single contact and a single musical artist matching that query, then a search

algorithm based only on constraint satisfaction parameters would be able to provide this output,

without the need to resort to any non-constraint rule of thumb.

       532.    The description of Universal Search does not comport with Snoeren’s

infringement accusations against the Google Search Application. This description alleges that

“Universal Search uses different rules of thumb for searching the different sources,” presumably

referring to the smartphone and Internet sources references in the preceding sentence. But the

Opening Snoeren Report does not allege that the Accused Products employ a rule of thumb to

search the Internet.    (Opening Snoeren Report, ¶ 255: “The Web module further locates

information on the Internet as required by Claim 24”; Opening Snoeren Report, ¶ 268: “The

Google Content Provider further locates information on the Internet as required by Claim 24”;

Opening Snoeren Report, ¶ 290: “The Google Content Provider further locates information on

the Internet as required by Claim 24.”) Accordingly, this description of Universal Search does

not accurately describe the accused feature, according to the Opening Snoeren Report.

       533.    This description of Universal Search does not limit Universal Search to only



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      Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 9 of 58
HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY – SOURCE CODE


searches of information both in local storage media and on the Internet. Instead, the description

states “Universal Search lets you use a single search to find information from different sources of

information, for example data stored on your smartphone [tablet] as well as information found

on the Internet.” (Hauser Report, ¶ 74 (emphasis added).) In other words, the survey does not

limit its description of Universal Search to searches of both local storage media and the Internet,

but rather implies that any search of different sources of information would quality as a

Universal Search. That is not consistent with the scope of claim 24. As discussed above with

respect to Section VIII, there are a number of non-infringing methods to use a single search to

find information in multiple sources. This description instead describes Universal Search as

encompassing all methods of using a single search to find information in multiple sources. This

is not consistent with the scope of claim 24.

       534.    I note that the description of Universal Search does not appear to attempt to

describe the feature of dependent claim 25.

       535.    Dr. Hauser’s survey includes a video that Dr. Hauser claims to demonstrate the

operation of the accused feature. The functionality disclosed in this video was present in the

prior art. The videos attached to this report are exemplary illustrations of the functionality that

Dr. Hauser asserts is covered by claim 24 of the ‘959 patent. These videos are exemplary

illustrations only, and I may rely on other demonstrations of the same prior art as support for my

opinions in this case.

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                                                210
Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 10 of 58
Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 11 of 58




                   EXHIBIT U
     Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 12 of 58

                     HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY


 1                       UNITED STATES DISTRICT COURT
                NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION
 2
                                Before the Honorable Lucy H. Koh
 3                                 Federal District Court Judge
 4

 5 APPLE, INC, a California corporation,
   Plaintiff
 6
   vs.
 7
   SAMSUNG ELECTRONICS CO., LTD., a                  CASE NO. 12-CV-00630-LHK
 8 Korean corporation; SAMSUNG
   ELECTRONICS AMERICA, INC., a New
 9 York corporation; SAMSUNG
   TELECOMMUNICATIONS AMERICA,
10 LLC, a Delaware limited liability company,
   Defendants.
11

12            REBUTTAL EXPERT REPORT OF SAUL GREENBERG, PH.D.,
            REGARDING NONINFRINGEMENT OF THE ASSERTED CLAIM 8 OF
13                         U.S. PATENT NO. 8,046,721
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                                                                   Case No. 12-CV-00630-LHK
     REBUTTAL EXPERT REPORT OF S. GREENBERG RE: NONINFRINGEMENT OF US PATENT NO. 8,046,721
                        HIGHLY CONFIDENTIAL—ATTORNEYS’ EYES ONLY
                        Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 13 of 58




                   1           B.1.           Apple’s expert did not survey users regarding the ‘721 Patent on smart
                                       phones.
                   2
                                199. Dr. Hauser’s survey results on the ‘721 patent are limited to tablets, and therefore
                   3
                        inapplicable to smartphones. Dr. Hauser did not include the “slide to unlock” (keyguard UI)
                   4

                   5 feature for the ‘721 patent in the smart phone survey, instead only asking participants of the tablet

                   6 survey about the feature (though Apple has not accused any Samsung tablets). It appears that in

                   7 calculating the damages for the ‘721 patent, Apple’s expert, Christopher Vellturo, simply applied

                   8 the tablet survey results to smartphones. (See Expert Report of Chris Vellturo p. 104, FN506:

                   9
                        “The ‘slide to unlock’ Accused Feature associated with the ‘721 Patent was studied only in the
                 10
                        tablet survey. (Conversation with Dr. John Hauser.) For this patent only, I therefore apply survey
                 11
                        results from the tablet survey to smartphones.”)
                 12

                 13             200. The size of the touch-screen and form-factor of the hardware are significant

                 14 concerns in designing any user interface. A UI may be suitable for a phone, but can be wholly

                 15 unsuitable for a tablet, and vice versa.

                 16
                               B.2.           Apple’s expert did not survey users regarding the accused functionalities of
                 17                    the “Tongue/No Dot” devices.

                 18             201. Apple’s damages experts did not survey any users on the accused functionalities of

                 19 the Tongue/No Dot devices. Dr. Hauser only surveyed tablet users on screen unlocking (i.e., the

                 20 keyguard UI), which is not an accused feature for any of the devices Apple has grouped as the

                 21 “Tongue/No Dot” devices (the Captivate Glide, Exhibit II 4G, Galaxy S II, Galaxy S II Skyrocket,

                 22
                        and Galaxy S II Epic 4G Touch). Apple only accused the “Tongue/No Dot” devices for the
                 23
                        incoming call functionality, and sliding to view missed calls/texts, but did not accuse screen
                 24
                        unlocking (i.e., the keyguard screen). Therefore, even if the tablet survey results were applicable
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                 26 to smartphones, Dr. Hauser’s survey results are inapplicable to the Captivate Glide, Exhibit II 4G,

                 27 Galaxy S II, Galaxy S II Skyrocket, and Galaxy S II Epic 4G Touch.

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02198.51981/5518224.2                                                                Case No. 12-CV-00630-LHK
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                        REBUTTAL EXPERT REPORT OF S. GREENBERG RE: NONINFRINGEMENT OF US PATENT NO. 8,046,721
                                           HIGHLY CONFIDENTIAL—ATTORNEYS’ EYES ONLY
                        Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 14 of 58




                   1           B.3.            Apple’s expert does not fairly represent potential and actual non-infringing
                                       alternatives
                   2
                                202. With regard to Dr. Hauser’s tablet survey, the description of the non-infringing
                   3
                        alternatives are misleading. The survey’s characterization is flawed in several ways. Dr. Hauser’s
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                   5 survey description is reproduced below:

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                 14                            Figure 17. Hauser Survey on Slide to Unlock Functionality
                                203. First, the survey question is misleading. There is no evidence that the non-
                 15

                 16 infringing alternative is more likely to result in accidental unlocks—for example, if it requires an

                 17 extremely long swipe, it is much less likely to unlock than the allegedly infringing unlock

                 18 mechanism demonstrated in Dr. Hauser’s survey.

                 19
                                204. Second, the non-infringing alternative is described in a confusing, inaccurate, and
                 20
                        contradictory manner. As shown above in Figure 17, Dr. Hauser describes the non-infringing
                 21
                        alternative as “swiping the lock screen from any random spot on the screen to any other random
                 22

                 23 spot that was far enough away, which may make unintentional unlocks more likely.” In my

                 24 opinion, swiping “from any random spot on the screen to any other random spot” contradicts that

                 25 the second random spot must be “far enough away.” It is a completely inaccurate description of

                 26 how the non-infringing alternatives operate—a user reading this description is likely to believe

                 27
                        there is no consistency in the user interface, and that the unlock mechanism requires a swipe of a
                 28
02198.51981/5518224.2                                                                Case No. 12-CV-00630-LHK
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                        REBUTTAL EXPERT REPORT OF S. GREENBERG RE: NONINFRINGEMENT OF US PATENT NO. 8,046,721
                                           HIGHLY CONFIDENTIAL—ATTORNEYS’ EYES ONLY
                        Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 15 of 58




                   1 different length each time. Several alternate embodiments are available, for example, from a fixed

                   2 location to any particular location so long as the distance exceeds a certain amount, or from any

                   3
                        particular spot to a fixed location. The spots do not have to be random to avoid practicing claim 8.
                   4
                                205. Third, the animation of the non-infringing alternative is ambiguous as to whether
                   5
                        there is any visual feedback given by the tablet. Although the demonstration video shows a
                   6
                        glowing ripple under the point of user’s contact (shown below), it is unclear whether this
                   7

                   8 represents the user touching the screen, or the screen showing a ripple and providing visual

                   9 feedback of the gesture. The survey does not make it clear that a device may provide visual

                 10 feedback without infringing the claim. Numerous non-infringing alternatives also provide visual

                 11
                        feedback without infringing the claim. In terms of implemented examples, the Glass Unlock
                 12
                        mechanism shows the screen moving with the user’s touch, the Circle Unlock mechanism
                 13
                        animates a padlock from the locked clasp to the unlocked clasp as the user drags his or her finger,
                 14

                 15 and the Ripple Unlock mechanism shows a visual effect applied to the point of contact. All of

                 16 these mechanisms provide visual feedback to the user that his or her touches are being interpreted

                 17 and are leading towards successful unlocking, and do not infringe claim 8.

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                 28             Figure 18. Dr. Hauser's Depiction of the Unlock Operation of the Non-Infringing Alternative

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                        REBUTTAL EXPERT REPORT OF S. GREENBERG RE: NONINFRINGEMENT OF US PATENT NO. 8,046,721
                                           HIGHLY CONFIDENTIAL—ATTORNEYS’ EYES ONLY
                        Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 16 of 58




                   1            206. Fourth, whereas the survey shows a tablet with text and visual cues on the screen

                   2 for the patented functionality, it merely shows a blank screen for the non-infringing alternative, as

                   3
                        shown below.
                   4

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                 11 Figure 19. Lock Screen of the '721 Patent            Figure 20. "Lock Screen" of the Non-Infringing
                                                                         Alternative
                 12

                 13

                 14             207. Such an image of the non-infringing alternative is misleading because it gives no

                 15 indication whatsoever that the device is locked, nor does it provide any visual cues as to how the

                 16 user should unlock the device. A device may include visual cues and visual feedback without

                 17
                        infringing claim 8 of the ‘721 patent. The survey does not make it clear that visual cues may be
                 18
                        included in the non-infringing alternative.
                 19
                                208. Fifth, the survey’s depiction of the non-infringing alternative is inconsistent with
                 20

                 21 the depiction of the allegedly infringing implementation with regard to unpatented features. In

                 22 Figure 19, depicting the patented functionality, the device displays the current time/date and a lock

                 23 indicator prior to unlocking, as well as visual cues during unlocking. In contrast, the non-

                 24 infringing alternative in Figure 20 above shows a completely blank screen. Many users will be

                 25
                        confused as to whether the device is even ready to accept user input (since there is no time/date
                 26
                        displayed) or whether the device is locked (since there is no lock status indicator displayed). The
                 27

                 28
02198.51981/5518224.2                                                                Case No. 12-CV-00630-LHK
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                        REBUTTAL EXPERT REPORT OF S. GREENBERG RE: NONINFRINGEMENT OF US PATENT NO. 8,046,721
                                           HIGHLY CONFIDENTIAL—ATTORNEYS’ EYES ONLY
                        Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 17 of 58




                   1 omission of these features reduces the appeal and usability of the non-infringing alternative. The

                   2 survey does not make it clear that these features may be included without infringing the claim.

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                 14                    Figure 21. Dr. Hauser's Depiction of the Unlock Operation of the '721 Patent
                                209. Finally, Dr. Hauser’s survey describes the non-infringing alternative in a manner
                 15

                 16 that makes it appear mutually exclusive with other features. For example, the description of the

                 17 lock screen shortcuts (“you could add shortcuts to apps such as your camera and email service. To

                 18 activate one of these shortcuts from the lock screen simply select the app’s icon and drag it

                 19
                        upward”) is contradictory to the description of the non-infringing alternative. It is confusing
                 20
                        whether these shortcuts will work when using the non-infringing alternative. Similarly, the
                 21
                        description of the multiple lock screen widgets feature (“you have access to up to five different
                 22

                 23 lock screens . . . to switch between your lock screens, you would simply swipe the lock screen to

                 24 the left or right”) suggests that the usability of this feature would be reduced by the alternative to

                 25 slide to unlock. For example, a user could believe that the device may inadvertently unlock when

                 26 sliding between lock screens.

                 27

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02198.51981/5518224.2                                                                Case No. 12-CV-00630-LHK
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                        REBUTTAL EXPERT REPORT OF S. GREENBERG RE: NONINFRINGEMENT OF US PATENT NO. 8,046,721
                                           HIGHLY CONFIDENTIAL—ATTORNEYS’ EYES ONLY
                        Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 18 of 58




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                   8 Date: September 13, 2013

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                                                                        Saul Greenberg
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                        REBUTTAL EXPERT REPORT OF S. GREENBERG RE: NONINFRINGEMENT OF US PATENT NO. 8,046,721
                                           HIGHLY CONFIDENTIAL—ATTORNEYS’ EYES ONLY
Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 19 of 58




                   EXHIBIT V
     Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 20 of 58




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14          D.      Apple's Characterization of the Patented Feature Is Misleading
15          41.     I was asked to review a portion of the Expert Report of Prof. John Hauser related to

16 the his description of the ’172 patent. Prof. Hauser describes the purported invention of the ’172

17 patent as follows:

18                  Automatic Word Correction. As you type, your smartphone
                    displays text you typed in a text box, and at the same time provides
19                  suggested replacement text in a separate box alongside the text box
                    that displays what you actually typed. The Automatic Word
20
                    Correction feature allows you to automatically replace your original
21                  text with suggested text when, for example, you press space to move
                    on to the next word you want to type, or you press period to end the
22                  sentence. For example, if you type “birfday” and then press space or
                    period, you will automatically replace it with “birthday.” Without
23                  this feature, pressing space or period would retain your original text,
                    “birfday”; if you want to replace your original text, you would need
24
                    to select the suggested “birthday” yourself.
25
     Hauser Report at Exh. E. I find the description of the patent contained in Prof. Hauser’s survey to
26
     be inconsistent with the asserted claim, because Prof. Hauser's description omits the limitations of
27
     claim 18 that relate to user interaction with the second area, namely “the current character string in
28
                                                     -12-     HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                  EXPERT REPORT OF DR. DANIEL WIGDOR CONCERNING
                                                      NON-INFRINGEMENT OF U.S. PATENT NO. 8,074,172
     Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 21 of 58




 1 the first area is replaced with the suggested replacement character string if the user performs a

 2 gesture on the suggested replacement character string in the second area” and “the current

 3 character string in the first area is kept if the user performs a gesture in the second area on the

 4 current character string or portion thereof displayed in the second area.” Indeed, Prof. Hauser's

 5 description does not reference gestures in the “separate box” at all.

 6          42.    Moreover, I find that he failed to account for non-infringing alternatives to the ’172

 7 patent in his survey, which I understand Samsung had identified in response to interrogatory 29,

 8 and which I discuss in detail below. Prof. Hauser's survey does not account for one alternative,

 9 which Prof. Cockburn agrees is non-infringing in paragraph 450 of his report, in which (using

10 Prof. Hauser's example), “birthday” is shown in a text box after you've typed “birfday”, even

11 before a space or period is selected. In this non-infringing alternative, selecting a space or period

12 would still cause “birthday” to be displayed in the text box, and selecting “birfday” from the

13 selections in a separate box would cause it to replace “birthday” and be displayed in the text box.

14 This is not contemplated by Prof. Hauser's description. Thus I do not believe his survey accurately

15 presented takers with a comparison of the patented feature to the non infringing alternatives.

16          43.    I was also asked to review a portion of the Expert Report of Dr. Chris Vellturo

17 related to the his description of the ’172 patent. Dr. Vellturo describes the purported invention of

18 the ’172 patent as follows:

19                 I understand that the Patented Invention of the ’172 Patent allows
                   users to replace text they typed with automatically recommended
20                 text when, for example, they press a delimiter, such as the space
                   key, to move on to the next word they want to type or enter a period
21
                   to end a sentence. I understand that this Patented Invention makes it
22                 easier and faster for a user to enter words and other text using the
                   touchscreen keyboard because typographical errors are
23                 automatically corrected.
24 Vellturo Report at ¶ 93. I find the description of the patent contained in Dr. Vellturo’s Report to be

25 inconsistent with the asserted claim for the same reasons described above with respect to Prof.

26 Hauser's survey. Moreover, I find that he failed to account for non-infringing alternatives to the

27 ’172 patent in his survey, which I understand Samsung had identified in response to interrogatory

28 29, and which I discuss in detail below, again for the same reasons described above with respect to
                                                   -13-     HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                 EXPERT REPORT OF DR. DANIEL WIGDOR CONCERNING
                                                     NON-INFRINGEMENT OF U.S. PATENT NO. 8,074,172
     Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 22 of 58




 1 Prof. Hauser's survey. Thus I do not believe his Report accurately evaluates the patented feature or

 2 the non infringing alternatives.

 3 INTENTIONALLY OMITTED FROM RECORD/EXHIBIT

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     INTENTIONALLY OMITTED FROM RECORD/EXHIBIT
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28 18.
                                                   -14-     HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
                                                EXPERT REPORT OF DR. DANIEL WIGDOR CONCERNING
                                                    NON-INFRINGEMENT OF U.S. PATENT NO. 8,074,172
     Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 23 of 58


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20 DATED: September 12, 2013                     ______________________________
                                                 Daniel Wigdor
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                                          -98-     HIGHLY CONFIDENTIAL   ATTORNEYS’ EYES ONLY
                                       EXPERT REPORT OF DR. DANIEL WIGDOR CONCERNING
                                           NON-INFRINGEMENT OF U.S. PATENT NO. 8,074,172
Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 24 of 58




                   EXHIBIT W
       Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 25 of 58



 1             IN THE UNITED STATES DISTRICT COURT
 2      NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION
 3
 4   APPLE, INC., a California         )
     corporation,                      )
 5                                     )
                     Plaintiff,        )
 6                                     ) Case No.
                                       ) 12-cv-00630-LHK (PSG)
 7              vs.                    )
                                       ) Volume 1
 8   SAMSUNG ELECTRONICS CO., LTD., a )
     Korean corporation; SAMSUNG       )
 9   ELECTRONICS AMERICA, INC., a New )
     York corporation and SAMSUNG      )
10   TELECOMMUNICATIONS AMERICA, LLC, a)
     Delaware limited liability        )
11   company,                          )
                                       )
12                                     ) Pages 1 to 311
                     Defendants.       )
13   __________________________________)
14
15
16
17
18              VIDEOTAPED DEPOSITION OF ALEX SNOEREN
19                      San Diego, California
20                  Wednesday, September 25, 2013
21
22
23
24   Reported by:
     ELIZABETH BORRELLI, CSR No. 7844, CCLL, CLR
25   JOB NO. 65775

                         TSG Reporting - Worldwide   877-702-9580
       Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 26 of 58


                                                                         Page 24
 1               THE WITNESS:   Again, to the extent that I             10:24

 2   was ask to provide an opinion regarding whether a

 3   particular Apple product practiced a particular

 4   claim or claims of a given patent, I provided an

 5   opinion on that particular matter.              And, as with all   10:24

 6   the opinions in my report, I attempted to provide an

 7   explanation of the basis of how I formed the

 8   opinions expressed in the report.           That's not to say

 9   that I may have additional opinions regarding

10   addition any Apple products, additional patents,                   10:24

11   additional claims, but to the extent that I was

12   asked for a particular product, particular claim and

13   so forth, to the best of my ability, I've attempted

14   to explain the basis of my opinion, yes.

15   BY MR. PAK:                                                        10:24

16        Q.     And with respect to those issues, those

17   opinions are complete and full explanations as set

18   forth in the expert reports, correct?

19               THE WITNESS:   Again, full explanation, we

20   could -- you know, we can talk for a very long time.               10:25

21   I attempted to provide a sufficient explanation of

22   how I formed those opinions and the basis for my

23   opinions.

24   BY MR. PAK:

25        Q.     All I'm getting at, sir, is with respect               10:25


                         TSG Reporting - Worldwide   877-702-9580
     Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 27 of 58


                                                                            Page 309
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 8                  I, ALEX SNOEREN, do hereby declare under
 9            penalty of perjury that I have read the foregoing
10            transcript; that I have made any corrections as
11            appear noted, in ink, initialed by me, or attached
12            hereto; that my testimony as contained herein, as
13            corrected, is true and correct.
14                  Executed this ______ day of
15            _________________________, 20____, at
16            _________________________, ___________________.
17                         (City)                                 (State)
18

19

20

21

22                                        ___________________________
                                          ALEX SNOEREN
23                                        Volume 1
24

25



                       TSG Reporting - Worldwide   877-702-9580
      Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 28 of 58



 1   STATE OF CALIFORNIA                  )
                                          )         ss.
 2   COUNTY OF LOS ANGELES                )
 3

 4              I, Elizabeth Borrelli, Certified Shorthand
 5   Reporter, Certificate No. 7844, for the State of
 6   California, hereby certify:
 7              I am the deposition officer that
 8   stenographically recorded the testimony in the
 9   foregoing deposition;
10              Prior to being examined the deponent was
11   first duly sworn by me;
12              The foregoing transcript is a true record
13   of the testimony given;
14              Before completion of the deposition,
15   review of the transcript [x] was [ ] was not
16   requested.    If requested, any changes made by the
17   deponent (and provided to the reporter) during the
18   period allowed are appended hereto.
19

20   Dated: 9/26/13
21

22

23                                         ____________________________
                                           ELIZABETH BORRELLI, CSR 7844
24

25



                        TSG Reporting - Worldwide   877-702-9580
Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 29 of 58




                   EXHIBIT X
      Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 30 of 58
                         Highly Confidential Attorneys Eyes Only


                                                                            Page 1
 1                 UNITED STATES DISTRICT COURT
 2               NORTHERN DISTRICT OF CALIFORNIA
 3                      SAN JOSE DIVISION
 4
 5   APPLE, INC., a California     )
     corporation,                  )
 6                                 )
                        PLAINTIFF, )
 7             VS.                 )                      12-cv-00630-LHK
                                   )
 8   SAMSUNG ELECTRONICS, CO., LTD,)
     a Korean business entity;     )                      VOLUME I
 9   SAMSUNG ELECTRONICS AMERICA, )
     INC., a New York corporation; )
10   SAMSUNG TELECOMMUNICATIONS    )
     AMERICA, LLC, a Delaware      )
11   limited liability company,    )
                       DEFENDANTS. )
12   ______________________________)
13
14        HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
15
16     VIDEOTAPED DEPOSITION OF ANDREW COCKBURN, Ph.D.
17                 LOS ANGELES, CALIFORNIA
18               THURSDAY, SEPTEMBER 26, 2013
19
20
21
22
23   REPORTED BY:
24   CHRISTY A. CANNARIATO, CSR #7954, RPR, CRR, RSA
25   JOB NO.: 66065

                        TSG Reporting - Worldwide   877-702-9580
       Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 31 of 58
                          Highly Confidential Attorneys Eyes Only


                                                                        Page 155
 1   respect to their anticipation for the value of the
 2   mechanisms described in claim 18 of the '172 patent,
 3   this would be a good survey question to establish
 4   their understanding of the value of autocorrect
 5   functionality.                                                    01:36
 6        Q.      Now, you just testified that this would
 7   be a good survey question.          On what do you base your
 8   opinion that this would be a good survey question?
 9        A.      I'm not an expert in the development of
10   the broad user surveys.        However, I do understand           01:36
11   that when surveying users, their perceptions of
12   particular -- particular interactions in particular,
13   it's important that you focus their attention on the
14   key values without overcomplicating the question
15   that you ask.                                                     01:37
16        Q.      And you said you thought this would be a
17   good survey question to survey users on the value of
18   autocorrect functionality; is that right?
19        A.      That's correct.
20        Q.      You would agree with me that the '172                01:37
21   patent doesn't cover all means of autocorrect
22   functionality?
23        A.      That's correct.
24        Q.      And so there could, in fact, be
25   autocorrect without practicing the '172 patent?                   01:37


                         TSG Reporting - Worldwide   877-702-9580
       Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 32 of 58
                          Highly Confidential Attorneys Eyes Only


                                                                        Page 156
 1        A.      That's correct.
 2        Q.      With that understanding, do you think
 3   that the final statement in the survey, "Without
 4   this feature, pressing space or period would retain
 5   your original text, birfday; if you want to replace               01:37
 6   your original text, you would have need to select
 7   the suggested 'birthday' yourself" is accurate?
 8        A.      Is what about that sentence accurate?
 9        Q.      Well, first, do you believe the sentence
10   that begins "Without this feature suggests to the                 01:37
11   user that without the feature described in the
12   preceding sentences of the survey question that they
13   would not have autocorrect functionality in their
14   device"?
15        A.      It does not necessarily imply the                    01:38
16   absence of autocorrect functionality.
17        Q.      How does it not imply the absence of
18   autocorrect functionality when it states that
19   without the feature that you would retain the
20   misspelled word and you would have to replace the                 01:38
21   word by selecting it yourself?
22        A.      It strongly implies that there will be
23   another mechanism associated with the selection of
24   birthday.   Given that the user has been described as
25   entering birfday, yet the available -- yet the word               01:38


                         TSG Reporting - Worldwide   877-702-9580
       Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 33 of 58
                           Highly Confidential Attorneys Eyes Only


                                                                                 Page 157
 1   birthday is available to the user, there is a form
 2   of autocorrection available to the user rather than
 3   autocorrection being absent.
 4        Q.      How does it suggest that there is a form
 5   of autocorrection available to the user?                                    01:38
 6        A.      Sorry.    A form of correction.                    I
 7   shouldn't have said -- a form of autocorrection.
 8        Q.      So it does suggest that autocorrection
 9   is not available to the user; that there is a means
10   of correction, but it is not autocorrection.                                01:38
11        A.      That's correct.
12        Q.      So isn't it the case that this question
13   suggests that without the feature described above
14   that autocorrection is not present in the device?
15                MR. LYON:       Objection.           Vague.        Asked and   01:39
16   answered.
17        A.      Autocorrection functionality takes a
18   wide range of different forms.              As we've seen from
19   -- as is evident from the vast array of prior
20   literature asserted.       A strict interpretation of                       01:39
21   autocorrection would accept -- would describe the
22   device implicitly inserting on the user's behalf a
23   corrected word.    Other forms of autocorrection will
24   also allow the user -- would present options to the
25   user and allow them to make a selection.                                    01:39


                         TSG Reporting - Worldwide    877-702-9580
       Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 34 of 58
                            Highly Confidential Attorneys Eyes Only


                                                                         Page 160
 1   '172 patent.
 2        A.       Claim 18 the first area includes that --
 3   that -- your description.            It also includes a
 4   current character string in that first area.
 5        Q.       So claim 18 requires a first area that                01:42
 6   shows a current character string as it's being
 7   input.    We agree on that.
 8        A.       Yes.
 9        Q.       And claim 18 of the '172 patent also
10   requires a second area that shows the current                       01:43
11   character string and a suggested replacement
12   character string; is that correct?
13        A.       That's imprecise.             It requires a current
14   character string or a portion thereof and a
15   suggested replacement character string.                             01:43
16        Q.       Okay.     So claim 18 of the '172 patent
17   requires a current character string or a portion
18   thereof and a suggested replacement character
19   string?
20        A.       Can you repeat the start of your                      01:43
21   question?    Sorry.
22        Q.       Claim 18 of the '172 patent requires in
23   that it display the current character string or a
24   portion thereof and a suggested replacement
25   character string in the second area.                                01:43


                           TSG Reporting - Worldwide   877-702-9580
       Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 35 of 58
                           Highly Confidential Attorneys Eyes Only


                                                                        Page 161
 1        A.      That's correct.
 2        Q.      Okay.     And where in Dr. Hauser's
 3   description does it describe a second area -- a
 4   second area displaying both the current character
 5   string and the suggested replacement character                    01:43
 6   string?
 7        A.      It does not.
 8        Q.      Okay.     Do you think that would be an
 9   important element to the user?
10        A.      It's an important part of the invention              01:44
11   disclosed in the '172 patent.              It has certain
12   benefits to the user.        Dr. Hauser's description
13   encapsulates the broad interpretation of the claim.
14        Q.      What do you mean by "the broad
15   interpretation of the claim"?                                     01:44
16        A.      Without going into the precise details
17   of every element of the patent's limitations, it
18   describes to people responding to the survey the key
19   elements of the interaction in a manner that is
20   readily understood by the respondents to the survey.              01:44
21        Q.      Wouldn't you agree that the precise
22   elements of the user interface are important to the
23   benefits of the user interface design?
24                MR. LYON:       Objection.           Vague.
25        A.      Yes.    The response to that depends on              01:45


                          TSG Reporting - Worldwide   877-702-9580
       Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 36 of 58
                          Highly Confidential Attorneys Eyes Only


                                                                           Page 170
 1   would infringe the '172 patent?
 2                MR. LYON:      Objection.           Mischaracterizes
 3   testimony.   Argumentative.
 4        A.      I would understand, as a scientist and
 5   as a user interface designer, that there are certain                  01:55
 6   circumstances under which the '172 patent clearly
 7   teaches that it would be unnecessary to display the
 8   current character string in two areas.
 9        Q.      Are those taught in claim 18?
10        A.      Implicitly, yes.                                         01:55
11        Q.      You would agree with me that claim 18
12   explicitly requires a current character string in
13   two areas?
14        A.      That is the language of the claim.                Yes.
15        Q.      Do you think that a user of portable                     01:56
16   electronic devices would find it important to their
17   use that there be a current character string in two
18   areas?
19        A.      In certain circumstances, yes.
20        Q.      Do you think that the display of the                     01:56
21   current character string in two areas is as
22   beneficial as an aspect of claim 17 -- of claim 18
23   of the '172 patent as the automatic replacement of a
24   misspelled word upon the selection of a delimiter?
25        A.      This is a contextually sensitive                         01:56


                         TSG Reporting - Worldwide   877-702-9580
       Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 37 of 58
                            Highly Confidential Attorneys Eyes Only


                                                                               Page 171
 1   question.    There are different times of which
 2   different components of the limitations of claim 18
 3   are valuable to users.
 4        Q.       But the display of the current character
 5   string in two areas is not described in Professor                         01:56
 6   Hauser's survey; correct?
 7        A.       It is not.
 8        Q.       And Professor Hauser's statement about
 9   the result of not having the patented feature does
10   not address the requirement of claim 18 that there                        01:57
11   be a current character string in two areas?
12        A.       It does not specifically do so.                    That's
13   correct.
14                 (Exhibit Cockburn 7 marked for
15                  identification.)                                           01:58
16        Q.       So that you have in front of you we have
17   just handed you what we've marked as Exhibit 7, and
18   this is a U.S. Patent No. 8,046,721.
19                 Is this the '721 patent that we referred
20   to before?                                                                01:58
21        A.       It is.    Yes.
22        Q.       So while we have -- I wanted to get that
23   in front of you while we were talking about
24   Professor Hauser's report.
25                 And I think if you turn to page 36.                    If   01:59


                         TSG Reporting - Worldwide     877-702-9580
      Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 38 of 58
                          Highly Confidential Attorneys Eyes Only


                                                                        Page 262
 1   STATE OF CALIFORNIA             )
 2                                   ) SS
 3   COUNTY OF LOS ANGELES )
 4

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10              I, the undersigned, declare under penalty
11   of perjury that I have read the foregoing
12   transcript, and I have made any corrections,
13   additions or deletions that I was desirous of
14   making; that the foregoing is a true and correct
15   transcript of my testimony contained therein.
16              Executed this ______ day of _________,
17   20__, at _________, _____________.
18               (City)            (State)
19

20

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22                                                   ______________________
23                                                   ANDREW COCKBURN, Ph.D.
24

25



                        TSG Reporting - Worldwide    877-702-9580
Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 39 of 58




                    EXHIBIT Z
     Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 40 of 58




                                  UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA

                                        SAN JOSE DIVISION


                                               CASE NO. 12-cv-00630-LHK
APPLE INC., a California corporation,
                                               EXPERT REPORT OF DR. ALEX C.
                     Plaintiff,                SNOEREN CONCERNING U.S. PATENT
                                               NOS. 6,847,959 AND 7,761,414
       v.

SAMSUNG ELECTRONICS CO., LTD., a
Korean corporation; SAMSUNG
ELECTRONICS AMERICA, INC., a New
York corporation; and SAMSUNG
TELECOMMUNICATIONS AMERICA,
LLC, a Delaware limited liability company,        HIGHLY CONFIDENTIAL—OUTSIDE
                                                  ATTORNEYS’ EYES ONLY—SOURCE
                     Defendants.                              CODE

                                                 GOOGLE’S HIGHLY CONFIDENTIAL—
                                                 OUTSIDE ATTORNEYS’ EYES ONLY—
                                                          SOURCE CODE
                        Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 41 of 58
                          HIGHLY CONFIDENTIAL—OUTSIDE ATTORNEYS’ EYES ONLY—SOURCE CODE
                      GOOGLE’S HIGHLY CONFIDENTIAL—OUTSIDE ATTORNEYS’ EYES ONLY—SOURCE CODE

            1            9.     Ninth Non-infringement Contention
                 INTENTIONALLY OMITTED FROM RECORD/EXHIBIT
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          16     I.      Use by Apple of The ’414 Patented Technology

          17             525.   I have been asked to evaluate whether Apple practices claim 11 of the ’414 Patent in

          18     iOS version 6.1. It is my opinion that version 6.1 of iOS practices claim 11 of the ’414 Patent. In

          19     forming my opinion I relied on the source code Apple made available in the following directory:

          20     Source\Additional_Samsung630_Off_21030605\1055-Samsung_Sync_14038700\6.1\

          21             526.   Version 6.1 of iOS provides a number of applications including a Calendar and

          22     Contacts application. Each of those applications provides a user-level non-synchronization

          23     processing thread that enables the user to access and edit structured data. The contacts and calendar

          24     applications both store information in a SQLite database on the iPhone that enables a user to access

          25     and edit contact information in that contact database.

          26
                 96
          27          The contention to which Samsung is referring is addressed above as the Third Non-infringement
                      Contention.
          28
Gibson, Dunn
                 EXPERT REPORT OF DR. ALEX SNOEREN
& Crutcher LLP   CONCERNING U.S. PATENT NOS. 6,847,959 AND
                 7,761,414                                        195
                      Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 42 of 58
                       HIGHLY CONFIDENTIAL—OUTSIDE ATTORNEYS’ EYES ONLY—SOURCE CODE
                   GOOGLE’S HIGHLY CONFIDENTIAL—OUTSIDE ATTORNEYS’ EYES ONLY—SOURCE CODE

            1           527.    Version 6.1 of iOS also provides separate synchronization software components for

            2    each applications that provide a separate synchronization processing thread that operates concurrently

            3    with the non-synchronization processing thread for contacts and calendars that synchronizes

            4    structured data from the SQLite databases on the iPhone with structured data in a remote database.

            5           528.    I understand that the Address Book functionality described here has been in iOS since

            6    at least version 4.0 and the Calendar functionality since iOS version 5.0. See Apple Developer:

            7    ABSource Reference available at

            8    http://developer.apple.com/library/ios/documentation/AddressBook/Reference/ABSourceRef_iPhone

            9    OS/ABSourceRef_iPhoneOS.pdf produced at APLNDC630-0001911803; Apple Developer:

          10     EKSource Reference available at

          11     http://developer.apple.com/library/ios/documentation/EventKit/Reference/EKSourceClassRef/EKSou

          12     rceClassRef.pdf produced at APLNDC630-0001911812.

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Gibson, Dunn
                 EXPERT REPORT OF DR. ALEX SNOEREN
& Crutcher LLP   CONCERNING U.S. PATENT NOS. 6,847,959 AND
                 7,761,414                                       196
                      Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 43 of 58
                       HIGHLY CONFIDENTIAL—OUTSIDE ATTORNEYS’ EYES ONLY—SOURCE CODE
                   GOOGLE’S HIGHLY CONFIDENTIAL—OUTSIDE ATTORNEYS’ EYES ONLY—SOURCE CODE

            1

            2          I declare under penalty of perjury that the foregoing is true and correct.

            3

            4     Dated: August 12, 2013
                                                                    Alex C. Snoeren
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Gibson, Dunn
                 EXPERT REPORT OF DR. ALEX SNOEREN
& Crutcher LLP   CONCERNING U.S. PATENT NOS. 6,847,959 AND
                 7,761,414                                       197
Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 44 of 58




                EXHIBIT AA
     Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 45 of 58




                                  UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA

                                        SAN JOSE DIVISION


                                               CASE NO. 12-cv-00630-LHK
APPLE INC., a California corporation,
                                               REBUTTAL EXPERT REPORT OF DR.
                     Plaintiff,                ALEX C. SNOEREN CONCERNING U.S.
                                               PATENTS NOS. 6,847,959 AND 7,761,414
       v.

SAMSUNG ELECTRONICS CO., LTD., a
Korean corporation; SAMSUNG
ELECTRONICS AMERICA, INC., a New
York corporation; and SAMSUNG
TELECOMMUNICATIONS AMERICA,
LLC, a Delaware limited liability company,        HIGHLY CONFIDENTIAL—OUTSIDE
                                                  ATTORNEYS’ EYES ONLY—SOURCE
                     Defendants.                              CODE
                       Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 46 of 58
                          HIGHLY CONFIDENTIAL—OUTSIDE ATTORNEYS’ EYES ONLY—SOURCE CODE


            1           627.       Finally, Dr. Chase makes several arguments and refers to documents relating to

            2    Apple’s practice of the ’414 Patent in the context of his “secondary considerations” analysis. See CR,

            3    ¶¶ 869-884; 886-887; 891; 895-898; 904. While it is my opinion that iOS 6.1 practices claim 11 and

            4    therefore Apple does practice the ’414 Patent, I do not have an opinion as to whether Apple practices

            5    claim 20. See Snoeren Report, ¶¶ 525-528. In any event, none of the documents Dr. Chase cites

            6    suggest that the particular combination of elements in claim 20 was obvious as of either the filing or

            7    invention date.

            8    D.     CLAIM 20 IS ADEQUATELY DESCRIBED IN THE ’414 PATENT

            9           628.       In a single paragraph near the end of the report, Dr. Chase offers what appears to be a

          10     conditional opinion that claim 20 may be invalid because the “concurrently with” limitation is not

          11     adequately described. Specifically, the Chase Report states “Moreover, it is my opinion that there is

          12     no support in the written description in the patent for a narrow definition of ‘concurrently with’ that

          13     requires such an analysis of OS-level thread scheduling." CR, ¶ 908. Of course, as the Chase Report

          14     acknowledges, the Court has construed the term “concurrently with” and there is no mention of OS-

          15     level thread scheduling in that construction. Accordingly, it is not clear if Dr. Chase is, in fact,

          16     offering an invalidity opinion on this basis.

          17            629.       In any event, I disagree that the “concurrently with” limitation lacks an adequate

          18     written description in the ’414 Patent. See, e.g., ’414 Patent, 2:18-63, 24:43-25:48 (describing this

          19     limitation). The Chase Report offers no analysis to the contrary.

          20     E.     RESPONSE TO “ADDITIONAL COMMENTS” SECTION OF THE CHASE REPORT

          21            630.       Dr. Chase does not offer any opinions in this section, but rather states that he may

          22     change his opinion, may rely on visual aids at trial, may use exhibits, compiled versions of source

          23     code, and additional hardware or software for demonstrative purposes. I understand that Apple may

          24     object to use of some of what Dr. Chase lists, but regardless, I reserve the right to comment or offer

          25     an opinion on any of the foregoing if Dr. Chase is permitted to do so.

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Gibson, Dunn
                 EXPERT REPORT OF DR. ALEX SNOEREN
& Crutcher LLP   CONCERNING U.S. PATENT NOS. 6,847,959 AND
                 7,761,414                                           206
                      Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 47 of 58
                        HIGHLY CONFIDENTIAL—OUTSIDE ATTORNEYS’ EYES ONLY—SOURCE CODE


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            2    Dated: September 13, 2013
                                                               Alex C. Snoeren
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Gibson, Dunn
                 EXPERT REPORT OF DR. ALEX SNOEREN
& Crutcher LLP   CONCERNING U.S. PATENT NOS. 6,847,959 AND
                 7,761,414                                   207
Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 48 of 58




           EXHIBIT A
     Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 49 of 58




                                             EXHIBIT A
This Exhibit includes a list of documents I have reviewed in preparing my report (in addition to
those identified in my Opening Expert Report). In preparing my report I have also reviewed the
documents cited or referenced in my report and the exhibits thereto. I reserve the right to rely
upon any additional information or materials that may be provided to me or that are relied
upon by any of Samsung’s experts or witnesses, if called to testify or to give additional opinions
regarding this matter.

A. PATENTS AND CASE DOCUMENTS
         Description
        U.S. Patent No. 7,761,414, July 20, 2010
        U.S. Patent No. 6,847,959, January 25, 2005
        U.S. Patent No. 8,086,604, December 27, 2011
        Prosecution History for United States Patent No. 7,761,414, filed January 7, 2007
        Prosecution History for United States Patent No. 8,086,604, filed January 5, 2000
        Prosecution History for United States Patent No. 6,847,959, filed January 5, 2000
        Joint Claim Construction and Prehearing Statement Pursuant to Patent Local Rule 4-3,
        filed November 9, 2012 [Dkt. 300]
        Apple Inc.’s Opening Claim Construction Brief Pursuant to Patent Local Rule 4-5, filed
        December 21, 2012 [Dkt. 333]
        Samsung’s Opening Claim Construction Brief, filed December 21, 2012 [Dkt. 335]
        Apple Inc.’s Responsive Claim Construction Brief Pursuant to Patent Local Rule 4-5,
        filed January 25, 2013 [Dkt. 350]
        Samsung’s Responsive Claim Construction Brief Pursuant to Patent Local Rule 4-5, filed
        January 25, 2013 [Dkt. 352]
        Apple Inc.’s Amended Opening Claim Construction Brief Pursuant to Patent Local Rule
        4-5, filed February 7, 2013 [Dkt. 356]
        Apple Inc.’s Reply Claim Construction Brief Pursuant to Patent Local Rule 4-5, filed
        February 8, 2013 [Dkt. 362]
        Samsung’s Responsive Claim Construction Brief Pursuant to Patent Local Rule 4-5, filed
        February 8, 2013 [Dkt. 363]
        Order Construing Disputed Claim Terms of U.S. Patent Nos. 5,579,239; 5,666,502;
        5,946,647; 7,577,757; 7,756,087; 7,761,414; 8,014,760, filed April 10, 2013 [Dkt. 447]
     Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 50 of 58




       Description
       Case Management Order, filed April 24, 2013 [Dkt. 471]
       Samsung’s Reduction of Invalidity References, filed July 8, 2013 [Dkt. 671]

B. DISCOVERY DOCUMENTS and PRODUCTS
       Description
       Apple’s Infringement Contentions for the ’959 and ’414 Patents
       Apple’s Supplemental Response to Samsung’s Interrogatory Nos. 2 and 3
       Expert Report of Jeffrey Chase, Ph.D Regarding the Invalidity of the Asserted Claims of
       the U.S. Patent ‘414 dated August 12, 2013
       iPod Mini
       Powerbook G4 running Mac OS X 10.4.3
       Samsung’s Invalidity Contentions for the ‘959 and ‘414 Patents
       Samsung’s Further Supplemental Responses to Apple’s First, Third and Tenth Set of
       Interrogatories (Interrogatory Nos. 4, 5, 6, 8, 20, 23, 24, 27, 29, 45), July 15, 2013




C. DEPOSITION TRANSCRIPTS & EXHIBITS
      Description
      Deposition Transcript of Yan Arrouye dated April 27, 2012 and Exhibits
      Deposition Transcript of Yan Arrouye dated May 14, 2013 and Exhibits
      Deposition Transcript of David Bienvenu dated July 3, 2013 and Exhibits
      Deposition Transcript of Eric Bivona dated July 3, 2013 and Exhibits
      Deposition Transcript of Jamie Carbonell dated May 2, 2013 and Exhibits
      Deposition Transcript of David Casseres dated May 29, 2013 and Exhibits
      Deposition Transcript of Stephen Capps dated June 21, 2013 and Exhibits
      Deposition Transcript of Gordon Freedman dated July 25, 2013 and Exhibits
      Deposition Transcript of Norbert Fuhr dated July 12, 2013 and Exhibits
      Deposition Transcript of Nobert Govert dated July 15, 2013 and Exhibits



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    Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 51 of 58




     Deposition Transcript of Gary Hall dated July 11, 2013 and Exhibits
     Deposition Transcript of Scott Herz dated March 14, 2013 and Exhibits
     Deposition Transcript of Matthew Holloway dated May 29, 2013 and Exhibits
     Deposition Transcript of Miguel de Icaza dated July 2, 2013 and Exhibits
     Deposition Transcript of Brewster Kahle dated July 25, 2013 and Exhibits
     Deposition Transcript of Michael Kobb dated July 18, 2013 and Exhibits
     Deposition Transcript of Sean Luke dated June 20, 2013 and Exhibits
     Deposition Transcript of Kenneth McLeod dated July 12, 2013 and Exhibits
     Deposition Transcript of Keith Mortensen dated May 10, 2013 and Exhibits
     Deposition Transcript of Ulrich Pfeifer dated July 14, 2013 and Exhibits
     Deposition Transcript of Nathaniel Polish dated April 3, 2012 and Exhibits
     Deposition Transcript of Jeffrey Stedfast dated July 3, 2013 and Exhibits
     Deposition Transcript of Dan Winship dated July 11, 2013 and Exhibits

D. DOCUMENTS
     Description
     Expert Report of John Hauser dated August 11, 2013
     C/Net, Apple Scraps Newton (Feb. 27, 1998) available at http://news.cnet.com/Apple-
     scraps-Newton/2100-1001_3-208551.html
     GNOME Dev Center: Hash Tables, available at
     https://developer.gnome.org/glib/2.36/glib-Hash-Tables.html
     https://developer.apple.com/library/mac
     /documentation/CoreFoundation/Conceptual/CFPropertyLists/CFPropertyLists.html
     http://www.ibm.com/developerworks/library/j-jtp0730/index.html;
     http://www.codeproject.com/ Articles /6863/Windows-Thread-Pooling-and-Execution-
     Chaining
     A Little History of the World Wide Web available at http://www.w3.org/History.html
     U.S. Patent No. 5,926,808, July 20, 1999
     U.S. Patent No. 6,000,000, December 7, 1999
     U.S. Patent No. 6,005,565, December 21, 1999



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    Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 52 of 58




     Description
     U.S. Patent No. 5,855,015, December 29, 1998
     U.S. Patent No. 6,834,276, December 21, 2004
     U.S. Patent No. 7,506,006, March 17, 2009
     U.S. Patent No. 7,653,614, January 26, 2010
     U.S. Patent Application Publication No. 2004/0139235, October 31, 2003


E. DISCOVERY DOCUMENTS
     DOCUMENTS FOUND AT THE FOLLOWING BATES NUMBERS
     ACM (SAMSUNG) 00000049
     APLNDC630-0000163544
     APLNDC630-0000163586-97
     APLNDC630-0000163621-23
     APLNDC630-0000283687-98
     APLNDC630-0000283700
     APLNDC630-0000283707-08
     GOOG-NDCAL630-00062048
     GOOG-NDCAL630-00065439
     GOOG-NDCAL630-00065478
     GOOG-NDCAL630-00065560
     IEEEE_APPSAM0002-23
     KAHLENDCA630-00000167
     KAHLENDCA630-00000221
     KAHLENDCA630-00000522
     KAHLENDCA630-00000531-32
     KAHLENDCA630-00000594-95
     LUKENDCA630-00000280-81
     LUKENDCA630-00000285
     LUKENDCA630630PHYS6
     MSFT-00630-000198-204
     MSFT_CODE00000001-0003251
     PFEIFERNDCA63-0000487
     PFEIFERNDCA63-0000566
     PFEIFERNDCA63-0001976
     PFEIFERNDCA63-0004210
     PFEIFERNDCA63-0004380
     PQ000016
     PQ000033


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Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 53 of 58




 DOCUMENTS FOUND AT THE FOLLOWING BATES NUMBERS
 PQ000062-65
 PQ000078
 PQ000091
 SAMNDCA630-05349929
 SAMNDCA630-07216825
 SAMNDCA630-07216829
 SAMNDCA630-00003841
 SAMNDCA630-00822302-03
 SAMNDCA630-04524944
 SAMNDCA630-00821974
 SAMNDCA630-00936989-91
 SAMNDCA630-00937057
 SAMNDCA630-06279877
 SAMNDCA630-06438998
 630OFFAPLESOURCECODE_007735




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     Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 54 of 58



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 8                                  UNITED STATES DISTRICT COURT
 9                               NORTHERN DISTRICT OF CALIFORNIA
10                                          SAN JOSE DIVISION
11

12   APPLE INC., a California corporation,               Case No.   11-cv-01846-LHK
13                           Plaintiff,                  EXPERT REPORT OF JULIE L.
                                                         DAVIS, CPA
14           v.
15   SAMSUNG ELECTRONICS CO., LTD., a
     Korean business entity; SAMSUNG
16   ELECTRONICS AMERICA, INC., a New York
     corporation; SAMSUNG
17   TELECOMMUNICATIONS AMERICA, LLC, a
     Delaware limited liability company,
18
                             Defendants.
19
20

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22                                  SUBJECT TO PROTECTIVE ORDER
23
                        HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
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     EXPERT REPORT OF JULIE L. DAVIS, CPA
     Case No. 11-cv-01846-LHK
     Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 55 of 58



 1   the patented technology. Calculation of cost and income reference points is a widely accepted

 2   method when valuing intellectual property.286

 3           191.    I have examined the manner in which Mr. Musika calculated cost value reference

 4   points, which were described in paragraphs 162 to 167 of his Original Expert Report and in

 5   Exhibits 39-S to 39.4-S. Mr. Musika prepared a calculation of the gross profits that Samsung

 6   would lose if it were forced to remove the infringing products that would be the subject of a

 7   hypothetical negotiation. Mr. Musika converted these losses to a per unit amount and allocated

 8   these amounts among the basket of intellectual property rights that Apple asserted in the amended

 9   complaint. I find Mr. Musika’s analysis to be well-reasoned and robust. As such, I have

10   considered these reference points when examining the results of a hypothetical negotiation based

11   on the factors described below.

12           192.    I have also examined the manner in which Mr. Musika calculated income value

13   reference points, which are described in paragraphs 182 to 190 of his Original Expert Report and

14   in Exhibits 41-S to 41.5-S. Mr. Musika prepared an analysis of the difference in profitability

15   between the iPad and iPhone and Apple’s other products and an analysis of the profitability of the

16   Samsung products. Mr. Musika revised these amounts downward to calculate a measure of
17   economic value added associated with Apple’s intellectual property. Mr. Musika also converted a
18   valuation of Apple’s brand from a well-known brand consulting firm, Interbrand, into a measure
19   of profitability. Mr. Musika then allocated the resulting measure of economic value added among
20   the basket of intellectual property rights that Apple asserted in the amended complaint. Again, I
21   find Mr. Musika’s analysis to be well-reasoned and robust. As such, I have considered these
22   reference points when examining the results of a hypothetical negotiation based on the factors

23   described below.

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               AICPA Practice Aid 99-2, Valuing Intellectual Property & Calculating Infringement
     Damages, (1999), pp. 38 to 42.
28
     EXPERT REPORT OF JULIE L. DAVIS, CPA
     Case No. 11-cv-01846-LHK
                                                                                                      86
Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 56 of 58
Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 57 of 58




                EXHIBIT CC
               Case 5:12-cv-00630-LHK Document 1297-3 Filed 02/19/14 Page 58 of 58
                                 Apple Inc. v. Samsung Electronics Co., LTD., et al.                  EXHIBIT 41.2-S


      Per Unit Reference Rate Calculations for Smartphones and Tablets Combined

                              Calculation Steps                                 Apple                Samsung
Per unit rate for utility patents
    Average Product Selling Price                                           $          625.28 1/ $       348.01 2/
 x Value of Intangibles                                                                  4.9% 3/           1.2% 3/
 = Per Unit Rate                                                            $           31.00 4/ $         4.00 4/

Per unit rate for design patents, trade dress, and trademarks
    Average Product Selling Price                                           $          625.28 1/ $       348.01 2/
 x Value of Brand/Design Rate                                                            3.9% 5/           2.6% 5/
 = Per Unit Rate                                                            $          24.00 6/ $         9.00 6/




Sources/Notes:
1/ Average Product Selling Price for Apple is a weighted average of Apple iPhone and iPad ASPs. The worldwide
   ASPs are calculated between Q3 FY2010 and Q2 FY2012 for smartphones and Q1 FY2011 and Q2 FY2012 for
   tablets and are weighted by the respective units sold into the U.S. during those time periods (see Exhibits 32-
   S and 33-S).
2/ Average Product Selling Price for Samsung is a weighted average of Samsung smartphone and tablet ASPs.
   The worldwide ASPs are calculated between Q2 2010 and Q1 2012 for smartphones and Q4 2010 and Q1
   2012 for tablets and are weighted by the respective units sold into the U.S. during the same time period
   (see Exhibits 37-S and 38-S).
3/ Value of Intangibles includes the iPhone and iPad combined for Apple, and the Accused Products combined
   for Samsung (see Exhibit 41.3-S).
4/ The Per Unit Rate for Utility Patents is calculated by multiplying the ASP by the Value of Intangibles.
   Rounded to the nearest dollar.
5/ See Exhibit 41.3-S.
6/ The Per Unit Rate for Design Patents and Trade Dress is calculated by multiplying the ASP by the Value of
   Brand/Design rate. Rounded to the nearest dollar.




                                                                       Submitted Under Seal; Highly Confidential;
                                             Prepared by Invotex Group              Outside Counsel Eyes’ Only
